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1    129782 Austin, Bridget             Junell & Associates, PLLC                                               7:20-cv-51235-MCR-HTC        2/10/2020         129782; 146733         Continues
2    146733 Austin, Bridget             The Murray Law Firm                          8:20-cv-40078-MCR-HTC                                   3/13/2020         129782; 146733   To Be Closed/Dismissed
3    131175 Edwards, Wade               Junell & Associates, PLLC                                               7:20-cv-55221-MCR-HTC        2/10/2020         131175; 435035         Continues
4    435035 Kenneth, Edwards            Watts Guerra, LLP                            9:23-cv-15095-MCR-HTC                                   9/21/2023         131175; 435035   To Be Closed/Dismissed
5    134042 Pretz, John                 Junell & Associates, PLLC                                               7:20-cv-61277-MCR-HTC        2/10/2020         134042; 342846         Continues
6    342846 Pretz, John                 Keller Postman                                                          7:21-cv-61921-MCR-HTC        9/2/2021          134042; 342846   To Be Closed/Dismissed
7    15271    Gurtner, Benjamin         Pulaski Law Firm, PLLC                       7:20-cv-02378-MCR-HTC                                   1/10/2020          15271; 96684          Continues
8    96684    Gurtner, Benjamin         The Murray Law Firm                                                     8:20-cv-36027-MCR-HTC        3/13/2020          15271; 96684    To Be Closed/Dismissed
9    173839 Evans, Robert               Heninger Garrison Davis, LLC                                            7:20-cv-64858-MCR-HTC        2/7/2020          173839; 415874         Continues
10   415874 Israel, Asriel              The Russo Firm                               9:23-cv-02794-MCR-HTC                                   9/12/2023         173839; 415874   To Be Closed/Dismissed
11   174539 Rutter, Jeffrey             Charles E. Boyk Law Offices, LLC                                        7:20-cv-79994-MCR-HTC        2/10/2020         174539; 443645         Continues
12   443645 Rutter, Jeff                Watts Guerra, LLP                            9:23-cv-29807-MCR-HTC                                   9/22/2023         174539; 443645   To Be Closed/Dismissed
13   180798 Stodgel, Peter              Heninger Garrison Davis, LLC                                            8:20-cv-21369-MCR-HTC        3/13/2020         180798; 287006         Continues
14   287006 Stodgel, Peter              Simmons Hanly Conroy                                                    7:21-cv-05130-MCR-HTC        1/27/2021         180798; 287006   To Be Closed/Dismissed
15   19566    Bauman, Chris W.          Johnson Law Group                            7:20-cv-84434-MCR-HTC                                   2/10/2020         19566; 137024          Continues
16   137024 Bauman, Chris               Keller Postman                                                                                                         19566; 137024    To Be Closed/Dismissed
17   197543 Alvarez, Julian Enriquez    Law Office of Paul Mankin, APC                                          8:20-cv-40849-MCR-HTC        4/10/2020         197543; 216647         Continues
18   216647 Enriquez, Julian            Pulaski Law Firm, PLLC                       8:20-cv-64707-MCR-HTC                                   6/16/2020         197543; 216647   To Be Closed/Dismissed
19   233590 Miller, Christopher         Cory Watson                                                             8:20-cv-80879-MCR-HTC        6/25/2020         233590; 383259         Continues
20   383259 Miller, Christopher         The Kuykendall Group LLc                                                3:23-cv-02762-MCR-HTC         2/2/2023         233590; 383259   To Be Closed/Dismissed
21   270055 Coleman, Philip             Laminack Pirtle & Martines                                              9:20-cv-17792-MCR-HTC        12/8/2020         270055; 299718         Continues
22   299718 Coleman, Philip             Heninger Garrison Davis, LLC                                            7:21-cv-40877-MCR-HTC        7/13/2021         270055; 299718   To Be Closed/Dismissed
23   287371 Fry, Kellyn                 Heninger Garrison Davis, LLC                 7:21-cv-40133-MCR-HTC                                   7/13/2021         287371; 365573         Continues
24   365573 Fry, Kellyn                 Kirkendall Dwyer LLP                                                    3:22-cv-10597-MCR-HTC        7/26/2022         287371; 365573   To Be Closed/Dismissed
25   321940 Laton, Christopher Ray      The Kuykendall Group LLc                                                7:21-cv-42186-MCR-HTC        7/7/2021          299391; 321940         Continues
26   299391 Laton, Christopher          Heninger Garrison Davis, LLC                 7:21-cv-40290-MCR-HTC                                   7/13/2021         299391; 321940   To Be Closed/Dismissed
27   322078 Chandler, Drexel Leon       The Kuykendall Group LLc                                                7:21-cv-42324-MCR-HTC        7/7/2021          322078; 424198         Continues
28   424198 Chandler, Drexel            Thomas J Henry                                                          7:23-cv-02948-MCR-HTC        9/19/2023         322078; 424198   To Be Closed/Dismissed
29   346274 Armstrong, Teresa           Shunnarah Vail Trial Attorneys, P.C.                                    7:21-cv-63410-MCR-HTC        9/10/2021         346274; 357720         Continues
30   357720 Armstrong, Teresa           Heninger Garrison Davis, LLC                                            3:22-cv-02797-MCR-HTC         3/4/2022         346274; 357720   To Be Closed/Dismissed
31   355175 Stewart, Murray             The Kuykendall Group LLc                                                3:21-cv-04538-MCR-HTC       12/20/2021         355175; 408445         Continues
32   408445 Stewart, Murray Eugene      Parafinczuk Wolf, P.A.                       9:23-cv-03652-MCR-HTC                                   9/12/2023         355175; 408445   To Be Closed/Dismissed
33   356853 Brown, Brady Daniel         Environmental Litigation Group PC                                       3:22-cv-04687-MCR-HTC        3/28/2022         356853; 424108         Continues
34   424108 Brown, Brady                Thomas J Henry                                                          7:23-cv-02642-MCR-HTC        9/18/2023         356853; 424108   To Be Closed/Dismissed
35   358049 Hankerson, Brian            Heninger Garrison Davis, LLC                                            3:22-cv-04169-MCR-HTC        3/18/2022         358049; 360909         Continues
36   360909 Hankerson, Brian            The Kuykendall Group LLc                                                3:22-cv-05437-MCR-HTC        4/20/2022         358049; 360909   To Be Closed/Dismissed
37   360823 Woods, Patrick              Heninger Garrison Davis, LLC                                            3:22-cv-05966-MCR-HTC        5/5/2022          360823; 361374         Continues
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38   361374 Woods, Gregory Patrick     Law Office of Paul Mankin, APC                                       3:22-cv-06444-MCR-HTC        5/17/2022         360823; 361374   To Be Closed/Dismissed
39   363486 Flores, Benjamin           Junell & Associates, PLLC                                            3:22-cv-08789-MCR-HTC        6/24/2022         363486; 443583         Continues
40   443583 Flores, Benjamin           Watts Guerra, LLP                         9:23-cv-29627-MCR-HTC                                   9/22/2023         363486; 443583   To Be Closed/Dismissed
41   364121 Haas, Wesley               Heninger Garrison Davis, LLC                                         3:22-cv-16710-MCR-HTC        8/19/2022         364121; 374566         Continues
42   374566 Haas, Wesley W             The Kuykendall Group LLc                                             3:22-cv-22937-MCR-HTC       11/11/2022         364121; 374566   To Be Closed/Dismissed
43   366608 Rasberry, Terry Lynn       Law Office of Paul Mankin, APC                                       3:22-cv-17119-MCR-HTC        8/30/2022         366608; 371615         Continues
44   371615 Rasberry, Terry            Heninger Garrison Davis, LLC                                         3:22-cv-20672-MCR-HTC       10/14/2022         366608; 371615   To Be Closed/Dismissed
45   422472 Cooley, Hale               The Kuykendall Group LLc                  9:23-cv-14580-MCR-HTC                                   9/19/2023         371891; 422472         Continues
46   371891 Cooley, Hale Travis        Heninger Garrison Davis, LLC                                         7:23-cv-03127-MCR-HTC        9/20/2023         371891; 422472   To Be Closed/Dismissed
47   378557 Cogan, Henry               Slater Slater Schulman LLP                                           3:22-cv-24550-MCR-HTC       12/12/2022         378557; 424227         Continues
48   424227 Cogan, Henry               Thomas J Henry                                                       7:23-cv-02332-MCR-HTC        9/17/2023         378557; 424227   To Be Closed/Dismissed
49   404573 Souder, Brandon            Seeger Weiss LLP                                                     3:23-cv-20394-MCR-HTC        7/24/2023         383494; 404573         Continues
50   383494 Souder, Brandon            The Kuykendall Group LLc                                             7:23-cv-03369-MCR-HTC        9/21/2023         383494; 404573   To Be Closed/Dismissed
51   394680 Rhoades-Mcdaniel, Sarah    Pulaski Law Firm, PLLC                                               3:23-cv-17722-MCR-HTC        7/10/2023         394680; 425117         Continues
52   425117 Rhoades-Mcdaniel, Sarah    Thomas J Henry                                                       7:23-cv-02059-MCR-HTC        9/15/2023         394680; 425117   To Be Closed/Dismissed
53   96009   Kronner, Keith Ivin       Wagstaff & Cartmell, LLP                                             7:20-cv-34309-MCR-HTC        1/10/2020         96009; 378534          Continues
54   378534 Kronner, Keith             The Gori Law Firm, P.C.                                              3:22-cv-23166-MCR-HTC       11/16/2022         96009; 378534    To Be Closed/Dismissed
